                         Case 2:23-cv-16873-MCA-MAH           Document 50-1      Filed 04/04/24    Page 1 of 3 PageID:
                                                                    307



From:                            Jeffrey Neiman <jneiman@mnrlawfirm.com>
Sent:                            Tuesday, April 2, 2024 2:53 PM
To:                              Stacy Rodriguez
Cc:                              James Ward; Jason Mays; Dara Tarkowski
Subject:                         Re: Dates for Deposition



** EXTERNAL SENDER **


Thank you for the response.

Jeffrey A. Neiman
Marcus Neiman Rashbaum & Pineiro LLP
100 Southeast Third Avenue
Suite 805
Fort Lauderdale, Florida 33394
Telephone: 954-462-1200
jneiman@mnrlawfirm.com

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your computer without retaining a copy.




       On Apr 2, 2024, at 2:09 PM, Stacy Rodriguez <stacy.rodriguez@actuatelaw.com> wrote:


       Received. We are in the process of obtaining a date.
                                                                           1
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                                                                                     308

Stacy J. Rodriguez
Partner
Actuate Law LLC
545 NW 26th St., Suite 640
Miami, Florida 33127
312.462.0462
stacy.rodriguez@actuatelaw.com




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From: Jeffrey Neiman <jneiman@mnrlawfirm.com>
Sent: Tuesday, April 2, 2024 10:41 AM
To: Stacy Rodriguez <stacy.rodriguez@actuatelaw.com>; Dara Tarkowski <dara.tarkowski@actuatelaw.com>
Cc: James Ward <james.ward@actuatelaw.com>; Jason Mays <jmays@mnrlawfirm.com>
Subject: FW: Dates for Deposition

** EXTERNAL SENDER **

Stacy/Dara

I have sent two emails to Mr. Ward and I have received no response. As you know, your client is ordered to sit for a deposition prior to April
19. The discovery cutoff has been extended, so we have a little more flexibility on scheduling, but we need an agreed up on date by the
end of the week in case we need to go to Judge Torres to amend the Order. Please advise.

Jeff




Jeffrey A. Neiman
Marcus Neiman Rashbaum & Pineiro LLP
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                                                                         309
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From: Jeffrey Neiman
Sent: Monday, April 1, 2024 8:00 AM
To: James Ward <james.ward@actuatelaw.com>
Cc: Jason Mays <jmays@mnrlawfirm.com>
Subject: Re: Dates for Deposition

James

Following up on the email from Thursday. When can you get us dates?

Jeffrey A. Neiman
Marcus Neiman Rashbaum & Pineiro LLP
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Fort Lauderdale, Florida 33394
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jneiman@mnrlawfirm.com

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